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IN THE UNITF'..D sTATEs DISTRICT coUR'r"mBY" '~"“'~°'°*

 

FoR THE WESTERN DIsTRICT oF TENNESS '
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'rHoMAs JoERN woLTER, %\§P'NSTEECTM

Petitioner,
v. Nb. 04-2748-MaP

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,

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Defendant.

 

ORDER GR.ANTING DEFENDANT'S MOTION TO DISMISS AND DISMISSING
PLAINTIFF'S PETITION

 

On September 22, 2004, petitioner Thomas Joern Wolter
(“Wolter”) filed. a “Petition for‘ a Hearing on. Naturalization
Application Under 8 U.S.C. § 1447(b).” Defendant United States
Department of Homeland Security (“DHS”) filed a motion to dismiss
Wolter's petition on Eebruary 8, 2005. DHS, in its notion to
dismiss, argues that Wolter's petition for' a hearing is moot
because DHS adjudicated.wolter's naturalization.petition on January
19, 2005. On May 17, 2005, the court entered an order requiring
Wolter to show cause within ll days from the date of the order as
to why DHS's motion should not be granted. Wolter has not filed a
response.

For good cause shown, Defendant’s motion to dismiss is GRANTED

and Plaintiff's petition is DISMISSED.

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with Rule bd and!or 73(3) FHCP on ‘

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So ORDERED this 3'& day of August 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘R.ICT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 10 in
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

